Case 16-31237 Document 17 Filed in TXSB on 03/16/16 Page 1 of 2

Fill in this information to identify your case:

Debtor 1 Larry Scott Roqers
First Name Niidd|e Name Last Name

Debtor 2
(Spouse, if filing) First Name Mtddie Name Last Namo

 

United States Bankruptcy Court for the: SOUTH ERN DlSTRiCT OF TE)(AS

 

g'aksr?ol::nn)..ber l:] Checi< if this is an
amended filing

 

 

Officiai Form 1068um
Summary of Your Assets and Liabiiities and Certain Statisticai information 12!15

 

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying
correct information Fill out all of your schedules first; then complete the information on this form. if you are filing amended
schedules after you file your original forms, you must fill out a new Surnmary and check the box at the top of this page.

Summarize Your Assets

Your assets
Vaiue of What you own

1. Scheduie A/B: Pro_oen‘y (Officiai Form 106AIB)

 

1a. Copy line 55. Tota| real estate, from Schedu|e A/B ___M
1b. copy line 62, Toiai personal propeny, from schedule AIB M
1c. Copy line 63. Totai of ali property on Scheciu|e AiB M

 

 

 

Summarize Your Liabi|ities

Your liabilities
Amount you owe

2. Scheduie D: Creditors Who Have Ciaims Secureci by Property {Officiai Form 1060)

 

 

2a. Copy the total you listed in Coiumn A. Arnount of olaim, at the bottom of the last page of Part 1 of Scheduie D ..... M
3. Scneduie E/F`: Cr‘ed.itors Who Have Unsecured Ciairns {Officiat Form 106§/%=)
Sa. Copy the total claims from Part 1 (priority unsecured ciaims) from line 6a of Scheduie EiF............... $-3-677-42
3b. Copy the total claims from Part 2 (nonpriority unsecured ciaims) from line 61' of Schedu|e EIF ............................. + M
Your total nabilities M

 

 

 

Summarize Your income and Expenses

4. Scheduie i: Your income (Officia| Form 106i)

Copy your combined monthly income from line 12 of Scheduie l ...................................................................................... $5»000~00

5. Scheduie J: Vour Expenses {Official Form iOBJ)

Copy your monthly expenses from line 22c of Scheduie J _M

Officiai Form 1068um Summary of Your Assets and Liabiiities and Certain Statistical information page ‘i

oebwri Larry CaSe 163%1;237 Docu§n§&gl? Filed in T)£§Sl§nglpbg§{,"ln§(v?]n€ Page 2 of 2

First Name Middie Name Last Name

Answer These Questions for Administrative and Statisticai Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137

m No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

M Yes

7. What kind of debt do you have?
|:] ‘(our debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personai,
famiiy, or household purpose." 1'i U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes. 28 U.S.C. § 159,

|z[ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules

 

B. From the Statement of Your Current Monthly income: Copy your total current monthly income from
Oificiai Form 122A-1 Line ‘i‘i; OR, Form 1225 Line 11: OR, Form 1220-1 Line14.

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Tota| claim

From Part 4 on Schedu.ie Ei'i'=l copy the following:
9a. Domestic support obligationsl (Copy fine 6a.)
9b. Taxes and certain other debts you owe the government (Copy line Sb.)
9c. Ciaims for death or personal injury while you were intoxicated (Copy line 60.) _
9d. Student ioans. (Copy line Sf.)
Se. Obiigations arising out of a separation agreement or divorce that you did not report as

priority ciaims. (Copy line 69.)
9f. Debts to pension or profit-sharing pians, and other similar debts. (Copy line Bh.) +

 

9_g. Total. Add iines 9a through 9f.

 

 

 

Officia| Form 106Sum Summary of Your Assets and Liabi|ities and Certain Statisticai information page 2

